Case 1:22-cr-00051-TSK-MJA Document 50 Filed 10/27/22 Page 1 of 1 PageID #: 189



                   IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF WEST VIRGINIA


 UNITED STATES OF AMERICA,

             Plaintiff,

       v.                                      CRIMINAL NO. 1:22-CR-51-2
                                                          (KLEEH)
 PAUL DECOLOGERO,

             Defendant.


                    DUE PROCESS PROTECTIONS ACT ORDER
               TO ALL COUNSEL REGARDING BRADY OBLIGATIONS

       Pursuant to the Due Process Protections Act of 2020, the Court

 reminds the Government’s attorneys that under Brady v. Maryland,

 373 U.S. 83 (1963), and its progeny, failing to disclose favorable

 evidence to the accused violates due process where the evidence is

 material either to guilt or punishment.        Further, consequences for

 a Brady violation can include, but are not necessarily limited to,

 a   vacated   conviction    and    disciplinary    actions    against    the

 prosecutor.

       The Clerk of Court is DIRECTED to transmit copies of this

 Order to all counsel of record herein.

       DATED: October 27, 2022




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                                    THOMAS S. KLEEH, CHIEF JUDGE
                                    NORTHERN DISTRICT OF WEST VIRGINIA
